                      Case 22-1006, Document 82, 07/27/2022, 3354989, Page1 of 2

                    UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

                          ORAL ARGUMENT STATEMENT (Local Rule 34.1(a))


         TO REQUEST ORAL ARGUMENT, FILL OUT THIS FORM AND FILE IT WITH THE CLERK
                WITHIN 14 DAYS AFTER THE FILING OF THE LAST APPELLEE BRIEF.
     IF THIS FORM IS NOT TIMELY FILED, YOU WILL NOT BE PERMITTED TO ARGUE IN PERSON.

Short Title of Case: Vans, Inc. v. MSCHF Product Studio, Inc.                  Docket No.: 22-1006

Name of Party: Vans, Inc., VF Outdoor, LLC

Status of Party (e.g., appellant, cross-appellee, etc.): Appellees

Check one of the three options below:

            ✔   I want oral argument.                An attorney whose preference depends on whether other
                                                     attorneys will argue should consider conferring before
                I want oral argument only if         requesting argument. After the appeal has been
                at least one other party does.       scheduled for oral argument, a motion by counsel to forgo
                                                     oral argument, even on consent, may be denied.
                I do not want oral argument.

If no party wants oral argument, the case will be decided on the basis of the written briefs. If you want oral
argument, you must appear in Court on the date set by the Court for oral argument.

    The Court may determ ine to decide a case without oral argument even if the parties request it.



If you want oral argument, state the name of the person who will argue:

       Name: Lucy Jewett Wheatley

        (An attorney must be admitted to practice before the Court in accordance with Local Rule 46.1.)

If you want oral argument, list any dates (including religious holidays), that fall in the interval from 6 to  weeks
after the due date of this form, that the person who will argue is not available to appear in Court:

September 7; November 21-December 16




$1<21(:+2:$17672$5*8(086783'$7(7+(&2857,1:5,7,1*2)$1<&+$1*(,1
$9$,/$%,/,7<7+(&28570$<&216,'(5$)$,/85(7283'$7($%287$9$,/$%,/,7<:+(1
'(&,',1*$027,21723267321($6(7$5*80(17'$7(.



Filed by:

       Print Name: Lucy Jewett Wheatley                                           Date: 7/27/2022

       Signature:    /s/ Lucy Jewett Wheatley

5HYLVHG'HFHPEHU
           Case 22-1006, Document 82, 07/27/2022, 3354989, Page2 of 2




                        CERTIFICATE OF SERVICE

      I hereby certify that on July 27, 2022, the foregoing was electronically filed

with the Clerk of the Court for the United States Court of Appeals for the Second

Circuit using the appellate CM/ECF system.        All participants in the case are

registered CM/ECF users and will be served by the system.


Dated: July 27, 2022                  /s/ Lucy Jewett Wheatley
                                      Lucy Jewett Wheatley

                                      Counsel for Plaintiffs-Appellees
                                      Vans, Inc. and VF Outdoor, LLC
